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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

     Plaintiff

v.                                                          CRIM. NO. 10-344 (PG)

YAMIL M. NAVEDO RAMÍREZ,

     Defendant.


                                        OPINION AND ORDER


        Currently before the Court are several motions in limine filed by
the Government seeking to preclude defendant Yamil M. Navedo Ramírez
(“Navedo”) from presenting expert testimony regarding battered person
syndrome as part of her defense of duress. Dockets No. 275, 338 and 352.
Navedo has opposed said request. Dockets No. 313 and 386. For the reasons
that    follow,    the    Court      finds    that    the    Government’s         request        must    be
GRANTED IN PART AND DENIED IN PART.

                                            I. BACKGROUND

        Navedo    was    a     nineteen-year      veteran        of    the   Puerto       Rico    Police
Department (“PRPD”). On October 6, 2010 she was arrested by federal
authorities       as    part    of     “Operation     Guard       Shack,”     a   large-scale           FBI
investigation targeting corrupt police officers in Puerto Rico. Resulting
from    this    investigation,         approximately        130    individuals—including            more
than 90 law enforcement officers—were arrested and charged because of
their connection to approximately 125 illegal drug transactions. See
Docket No. 338.
        On October 28, 2010 a Grand Jury issued a Superseding Indictment
charging       Navedo    on    three    counts,      namely:      (Count      One)       conspiracy      to
possess with intent to distribute a controlled substance, in violation of
21 U.S.C. §§ 846 and 841(a)(1); (Count Two) attempt to possess with
intent to distribute a controlled substance, in violation of 21 U.S.C. §§
846 and 841(a)(1); and (Count 4) possession of a firearm in relation to a
drug    trafficking       crime,       in    violation      of    18    U.S.C.       §    924(c).       The
Indictment averred that Navedo, along with co-defendant Wendell Rivera
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Ruperto (“Rivera”), conspired to commit the aforementioned offenses by
providing     armed      protection    during   an   undercover          drug       transaction
involving twelve kilograms of sham cocaine, in exchange for which each
received a payment of $2,000. This alleged transaction took place on
April 14, 2010.
      With    trial      looming   ahead,   Navedo   seeks       to    introduce       evidence
showing that she was the victim of physical abuse by co-defendant Rivera,
which she alleges created an environment of duress that forced her to
participate in the drug transactions chronicled in the Indictment. To
bolster her defense, she wishes to introduce evidence regarding battered
person syndrome, via the expert testimony of Dr. Carol Romey, who will
purportedly testify that Navedo suffered from said syndrome. Docket No.
255. The Government opposes said request, arguing that the standard for
duress in our circuit is an objective one, and that allowing Dr. Romey to
testify would improperly imbue subjective considerations into the duress
defense. It argues that said testimony must be precluded under Federal
Rules of Evidence 401 and 402.

                                      III. DISCUSSION

      In order to establish a claim of duress, a defendant must show
that: (1) she acted under an immediate threat of serious bodily injury;
(2) she had a well-grounded belief that the threat would be carried out;
and   (3)    she   had    no   reasonable   opportunity      to       escape    or   otherwise
frustrate the threat. United States v. Bravo, 489 F.3d 1, 10 (1st Cir.
2007)(citing United States v. Arthurs, 73 F.3d 444, 448 (1st Cir. 1996)).
In assessing whether a defendant has met this standard, courts “do not
examine the defendant’s subjective perceptions about whether the threat
was likely to be acted upon or whether escape was possible.” United
States v. Castro-Gómez, 360 F.3d 216, 219 (1st Cir. 2004). Rather, a
court “hypothesizes a defendant of ordinary firmness and judgment and
asks what such a defendant was likely to have experienced or how such a
defendant was likely to have acted.” Id.
      The Fifth Circuit in United States v. Willis, 38 F.3d 170 (5th Cir.
1994), was faced with an issue similar to the one now before us. There, a
defendant was charged and convicted of carrying a firearm during and in
relation to a drug trafficking crime. At trial, defendant raised the
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defense of duress, and sought to introduce expert testimony aimed at
establishing that her history of abuse caused her to suffer from battered
person syndrome, which in turn forced her to commit the alleged crimes
under duress. The Government objected to said testimony, and the district
court       agreed    to    preclude   any   testimony     concerning     battered     person
syndrome. The Fifth Circuit affirmed, and held that evidence of battered
person syndrome was not germane to a defense of duress, as it centered
upon defendant’s subjective state of mind, and not on what a person of
ordinary firmness would do. Id. at 176. The court explained that evidence
of battered person syndrome is “usually consulted to explain why this
particular         defendant    succumbed    when    a   reasonable     person     without    a
background of being battered might not have.” Id. at 175. The court did
mention that in determining whether the elements of duress are met, a
jury may take into consideration the objective situation in which the
defendant was allegedly subject to duress. Id. at 177, n. 8. The Court
noted       that     this   would   presumably      include    evidence    concerning        the
defendant’s past history with the person making the unlawful threat. In
the end however, the court established a bright line rule indicating that
evidence of battered person syndrome is per se excludable when a defense
of duress is raised.
        In United States v. Marenghi, 893 F.Supp. 85 (D.Me. 1995), the
District Court of Maine struck a different chord. There, a defendant was
charged with conspiring to possess and distribute a controlled substance
containing cocaine base. Once again, defendant sought to introduce expert
testimony at trial to establish that she was a victim of battered person
syndrome, which either prohibited her from forming the requisite capacity
to commit the offenses, or forced her to commit the same under duress.1
As in Willis, the Government argued that such expert testimony would
merely       demonstrate       defendant’s    special      vulnerability     to     coercion,
rendering it irrelevant to the issue of whether defendant “acted as a
reasonable person in complying with the purported coercion.” Id. at 92.
        The District Court of Maine, however, declined to adopt Willis’s

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        In our case, Navedo has not alleged that her battered person
syndrome proscribed her from forming the requisite mental intent, mens
rea, to commit the charged crimes, but rather alleges that despite her
intent to commit the same, the syndrome created a situation of duress
which in turn legally justified her crimes.
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per   se   exclusion      rule   and    instead   ventured    down     a   different   path,
reasoning that:

        Part of the complexity of the issue is that the distinction
        between subjective and objective evidence is not as clear as the
        Government asserts here. This can be demonstrated by changing the
        “snapshot” of circumstances that is shown to a jury in any
        particular case. If the jury sees the defendant's circumstances
        immediately prior to commission of the crime and there is no gun
        held to her head or other markedly extreme duress, the jury may
        conclude that any fear of imminent death or violence was
        unreasonable. However, if the defendant is permitted to pull the
        camera back to provide the broader picture, so to speak, of her
        circumstances, the jury could learn of a pattern of violence,
        control, and coercion leading up to the criminal act. Expert
        testimony could be helpful to explain to the jury how a
        reasonable person reacts to repeated beatings and emotional
        abuse. Providing the jury with information of specific incidents
        of abuse while providing no information about how such treatment
        can, over time, establish a dynamic where the threat of abuse
        hovers over every interaction between the individuals, even if
        such threat is not always articulated, would give the jury only
        half of the story. In effect, this expert testimony may be
        characterized as explaining how a reasonable person can
        nonetheless be trapped and controlled by another at all times
        even if there is no overt threat of violence at any given moment.

Id. at 94-95 (footnotes omitted). The court concluded that excluding the
history and effect of the abuse suffered by a defendant with battered
person syndrome would be “wholly unfair and unjustified.” Id. at 95. It
then clarified that “[t]he presentation of expert testimony need not
state    that   this     particular     defendant   suffered       from    the   syndrome....
[r]ather the expert may simply explain the long-term effects of being
battered in general.” Id.
        This Court finds the reasoning behind Marenghi to be especially
persuasive here. Navedo maintains that the testimony of Dr. Romey is
fundamental to explain why women who “have been subjected to domestic
violence, battering and abuse do not act in a typical manner as compared
with women who [have] not suffer[ed] from it.” Docket No. 386, at 6. She
also argues that said testimony will provide the jury with information on
specific incidents of abuse, assist it in understanding how a reasonable
person     reacts   to   repeated      beatings   and   emotional     abuse,     describe   “a
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dynamic where the threat of abuse hovers over every interaction between
the individuals,” and explain why a person suffering from said abuse
would not inform police or friends. Id. The Court believes that most of
this testimony would be admissible as part of Navedo’s defense of duress,
as long as it is couched in general, objective terms and confines itself
within the bounds set by the court in Marenghi.
     The   Court    does    agree    with   the   government,      however,         that    the
proposed testimony may not enter into Navedo’s subjective set of mind,
meaning that Dr. Romey may not testify as to whether Navedo, or a person
sharing her exact life experiences, fits the profile of someone who
suffers from battered person syndrome. Neither may Dr. Romey testify as
to whether an ordinary person faced with the same set of circumstances as
Navedo   during    the   purported   drug   transactions        would    have      reasonably
feared suffering immediate bodily injury or death. Lastly, the Court also
cautions Navedo to avoid offering expert testimony that merely provides
conclusory assessments designed to link her subjective state of mind to
the elements of duress. See United States v. Dixon, 413 F.3d 520 (5th
Cir. 2005).2 Such a strategy would also unduly intrude into the function
of the jury and vitiate the objective framework of the duress defense.
     Thus, in order for this Court to properly rule on the admissibility
of this evidence, and whether the same will comport with the above
guidelines, the Court hereby orders defendant Navedo to submit a proffer
of evidence of the anticipated content of Dr. Romey’s testimony by March
12, 2012. Once such a proffer has been made, the Government will also be
afforded   an   opportunity    to    express   any   objections         it   may    have,   in
conformance with this opinion and order.




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        In Dixon, the Fifth Circuit found that the defendant’s psychiatric
expert inappropriately used a “transparent strategy” of “inserting brief,
perfunctory objective characterizations into testimony that otherwise
focuse[d] exclusively on the defendant’s subjective perceptions.” Id. at
524, n. 2 (quotations omitted). The court did note that other courts had
recognized a distinction between subjective testimony, like the one just
described, and generalized objective testimony, “which describes the typical
patterns,   circumstances  and   effects  of   battery  within   an   abusive
relationship without attempting to draw any conclusions therefrom as to the
subjective perceptions of a particular defendant.” Id. The Court believes
the second type of testimony should be admissible in the instant case.
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                                III. CONCLUSION

        For the reasons above stated, the Government’s motions in limine
are GRANTED IN PART AND DENIED IN PART. Defendant Navedo is ORDERED to
submit a proffer of evidence as to Dr. Romey’s testimony by March 12,
2012.
        IT IS SO ORDERED
        In San Juan, Puerto Rico, March 6th, 2012.


                                      s/ Juan M. Pérez-Giménez
                                        JUAN M. PEREZ-GIMENEZ
                                     SENIOR U.S. DISTRICT JUDGE
